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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §    CRIMINAL NO. 4:05CR173
                                                  §
 TERVARIAN DANIEL LEWIS (13)                      §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on February 5, 2013, to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by Jay

 Combs.

        On April 18, 2006, Defendant was sentenced by the Honorable Michael H. Schneider, United

 States District Judge, to a sentence of 60 months imprisonment followed by a four-year term of

 supervised release for the offense of Possession with Intent to Distribute Cocaine Base. Defendant

 began his term of supervision on June 19, 2009. On November 30, 2012, the case was transferred

 to the Honorable Marcia A. Crone, United States District Judge.

        On November 30, 2012, the U.S. Probation Officer filed a Petition for Warrant or Summons

 for Offender Under Supervision (the “Petition”) (Dkt. 895). The Petition asserts that Defendant

 violated the following conditions of supervision: (1) Defendant shall not commit another federal,

 state or local crime; (2) Defendant shall refrain from any unlawful use of a controlled substance.




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 Defendant shall submit to one drug test within 15 days of release from imprisonment or at least two

 periodic drug tests thereafter, as directed by the Court; (3) Defendant shall refrain from excessive

 use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance,

 or any paraphernalia related to any controlled substances, except as prescribed by a physician; and

 (4) Defendant shall participate in a program of testing and treatment for drug abuse, under the

 guidance and direction of the U.S. Probation Office, until such time as the defendant is released from

 the program by the probation officer.

         The Petition alleges that Defendant committed the following violations: (1) As previously

 reported to the Court, on January 9, 2012, Defendant was issued citations for Open Container and

 No Driver’s License by a Texas Department of Public Safety Trooper. He was ordered to pay a fine

 of $125.00 on each case, and the fines remain unpaid as of November 30, 2012; (2) On February 2,

 March 7, August 21, September 11, September 24, October 17, October 29, November 5, and

 November 13, 2012, Defendant submitted urine specimens that tested positive for marijuana. On

 June 18, 2012, and October 17, 2012, Defendant submitted urine specimens that tested positive for

 cocaine. Additionally, during an office visit on August 21, 2012, Defendant admitted to using

 Ecstacy on August 9, 2012. On all of the aforementioned instances of drug usage, Defendant either

 admitted usage and/or the urine specimens were confirmed positive by Alere Toxicology Services;

 and (4) Defendant failed to report for drug testing as directed on August 21, September 13,

 September 18, October 9, October 22, and November 12, 2012. He also failed to report for a drug

 treatment session at Bob Alterman, LCDC, Plano, TX, on September 4, 2012.

         At the hearing, Defendant entered a plea of true to the alleged violations. Defendant waived

 his right to allocute before the district judge and his right to object to the report and recommendation


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     of this Court. The Court finds that Defendant has violated the terms of his supervised release and

     that his supervised release should be revoked.

                                          RECOMMENDATION

            Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

.    presented at the February 5, 2013 hearing, the Court recommends that Defendant be committed to

     the custody of the Bureau of Prisons to be imprisoned for a term of ten (10) months, with no

     supervised release to follow. The Court further recommends that Defendant’s term of imprisonment

     be carried out in the Bureau of Prisons facility located in Seagoville, Texas, if appropriate.

           SIGNED this 19th day of February, 2013.

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                                                   ____________________________________
                                                   DON D. BUSH
                                                   UNITED STATES MAGISTRATE JUDGE




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